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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

HONEYFUND.COM, INC.,
et al.,

             Plaintiffs,
v.                                            Case No. 4:22cv227-MW/MAF

RON DESANTIS, in his official
Capacity as Governor of Florida,
et al.,

          Defendants.
_________________________/

                  ORDER DENYING MOTION TO DISMISS

      This is a First Amendment case. Plaintiffs argue that the Individual Freedom

Act, which—among other things—amended the Florida Civil Rights Act, violates

their First Amendment rights. Now, Defendants move to dismiss both because

Governor DeSantis is not a proper defendant under Ex parte Young and because

Plaintiffs’ complaint fails to state a claim. ECF No. 50.

      Taking those arguments in reverse order, Defendants’ motion to dismiss for

failure to state a claim reiterates their arguments in response to Plaintiffs’

preliminary injunction motion. Because this Court already rejected those arguments

when it granted Plaintiffs’ motion in part, Defendants’ motion to dismiss for failure

to state a claim is DENIED.
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       This Court then turns to Defendants’ argument that Governor DeSantis is not

a proper defendant. As the parties well know, plaintiffs can sue government officials

to enjoin them from enforcing an allegedly unconstitutional law when those officials

have some connection with the law’s enforcement. See Ex parte Young, 209 U.S.

123 (1908). Defendants argue that Governor DeSantis has no specific power to

enforce the IFA, and thus is not a proper Defendant. In response, Plaintiffs point to,

among other things, a statement on the Florida Commission on Human Relations’s

website claiming that it “may refer” employment complaints to the “Governor’s

office” for investigation. Employment, Florida Commission on Human Relations,

https://fchr.myflorida.com/employment. Thus, they say, Governor DeSantis has the

power to enforce the IFA.

        Accepting Plaintiffs’ allegations as true and drawing all reasonable inferences

in Plaintiffs’ favor—as this Court must—Plaintiffs have sufficiently alleged that

Governor DeSantis has the requisite connection to the IFA to satisfy Ex parte

Young. 1 Of course, without more, Plaintiffs’ claims against Governor DeSantis may

be subject to dismissal at the summary judgment stage. For now, however, they are




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         Though Defendants argue only that Governor DeSantis is not a proper party under Ex
parte Young, this Court has an independent obligation to ensure that Plaintiffs have standing.
United States v. Hays, 515 U.S. 737, 742 (1995). And while the two questions can overlap, the
standing inquiry is more exacting. See Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1256 (11th
Cir. 2020). Still, applying that standard, Plaintiffs have alleged sufficient facts to establish, at the
pleading stage, standing to sue Governor DeSantis.
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enough. Accordingly, Defendants’ motion to dismiss Governor DeSantis for lack of

jurisdiction is DENIED.

      In sum,

      IT IS ORDERED:

      Defendants’ motion to dismiss, ECF No. 50, is DENIED.

      SO ORDERED on August 18, 2022.
                                    s/Mark E. Walker                   ____
                                    Chief United States District Judge




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